   Case: 1:20-cr-00069-MWM Doc #: 44 Filed: 01/07/22 Page: 1 of 6 PAGEID #: 157




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 UNITED STATES OF AMERICA,                         :      CASE NO. 1:20-cr-69
                                                   :
                    Plaintiff,                     :      JUDGE MCFARLAND
                                                   :
                             v.                    :
                                                   :      GOVERNMENT’S SENTENCING
 MARTREL PHILLIPS,                                 :      MEMORANDUM
                                                   :
                    Defendant.                     :
                                                   :
                                                   :


MEMORANDUM

I. INTRODUCTION

       The Unites States comes before this Court in the above captioned case where the defendant

has pleaded guilty to one count of possession of a machine gun, in violation of 18 U.S.C. 922(o).

The defendant’s Rule 11 (c)(1)(B) plea agreement outlines the government’s intention to seek

application of the U.S.S.G guideline provision under sections 2K2.1(b)(6) or 2K2.1(c)(1) and a

sentence relevant thereto.

       Because the defendant used the same gun—outfitted with the Auto Seer machine gun he

possessed in the present case—in an attempt to commit a murder (in the Madisonville Rec Center

parking lot during the afternoon of a business day) prior to his criminal possession here, Probation,

in its Presentence Investigation Report (Doc. 42), qualified the defendant for a sentence under

section 2K2.1(c)(1)(A) of the sentencing manual. The resulting guideline range for his illegal

machine gun possession is fifty-seven (57) to seventy-one (71) months. Id. at 149. The government

asks this Court to accept Probation’s guideline range and, because 1) the defendant possessed a
   Case: 1:20-cr-00069-MWM Doc #: 44 Filed: 01/07/22 Page: 2 of 6 PAGEID #: 158




machine gun that is designed to fire as many rounds of ammunition as the firearm can hold with a

single depression of the trigger, 2) a machine gun is such a dangerous weapon it is illegal for

anyone in the United States to have, 3) the defendant’s weapon was stolen, 4) the defendant was

on probation at the time of his federal offense for a State weapons case, and 5) the defendant used

the same gun he possessed in this case to try to kill another person, that the Court sentence the

defendant to the high end of that guideline range.

II. SENTECING GUIDELINES

       Probation has returned a presentence report in the present case, including a guideline

calculation for the defendant of fifty-seven (57) to seventy-one (71) months. (Doc. 42, Page 149.)

Neither the government nor the defense objected to the calculation. Id. 18 U.S.C 3553(a)(4) directs

this Court to consider the guideline range determined by probation when coming to a sentencing

determination for the defendant. The Court may depart or vary downward from this range if there

is good reason to do so. Probation did not find a reason for the Court to depart downward from the

above range. (Doc. 42, Page 146.) The defendant, again, did not object to this determination, or,

writ large, Probation’s final guideline determination.

       The Court may also vary downward from a defendant’s guideline sentence upon good

cause. Probation has identified in its Presentence Report reasons related to the defendant’s

upbringing that may warrant doing so. (Doc. 42, Page 146.) The defendant has also made reference

to some difficult circumstances in his sentencing memo that he has faced in his life. (Doc. 43.) The

United States asserts that the defendant, however, has not provided a compelling link showing

why, given even the best benefit of the doubt, the circumstances he cites account for his illegal

behavior relevant to this case. Instead, he merely states that those circumstances “may have given

rise to his criminal conduct more so than his intent or desire to commit crime.” (Id. at 154.) The
   Case: 1:20-cr-00069-MWM Doc #: 44 Filed: 01/07/22 Page: 3 of 6 PAGEID #: 159




government asks this Court to accept Probation’s guideline range, and, given the aggravating

circumstances of the defendant being on probation for a weapons offense at the time of his illegal

gun possession, having outfitted that weapon so it would act as a machine gun, and having used

that weapon in an attempt to kill another person, the Court sentence him to 71 months in prison.

III. 3553(a) FACTORS

       The Court is required, in crafting the defendant’s sentence, to balance the factors listed in

18 USC 3553(a)(2) in order to “impose a sentence sufficient, but not greater than necessary.” Such

a sentence should (A) reflect the seriousness of the offense, promote respect for the law, and

provide just punishment for the offense; (B) afford adequate deterrence to criminal conduct; (C)

protect the public from further crimes of the defendant; and (D) provide the defendant with needed

educational or vocational training, medical care, or other correctional treatment in the most

effective manner. The United States asks that the Court consider the following when coming to its

determination of what is a just sentence for the defendant under those terms.

   a) Seriousness of the offense, promote respect for the law, and provide just punishment

   The defendant has pleaded guilty to illegal possession of a machine gun and stipulated under

the terms of his plea agreement that this firearm was stolen. (Doc. 37, Page 93.) In addition, he

committed this possession offense while on probation for another weapons offense. This is exactly

the sort history of behavior that the Court should consider when determining the defendant’s

respect for the law, specifically gun related offenses. But more than this, the defendant is not

simply possessing guns illegally. He is using them. And as relevant conduct to his current gun

possession, he used the same weapon to fire multiple shots across the Madisonville Rec Center

parking lot as he chased a man down in broad daylight. There is little else worse the defendant
   Case: 1:20-cr-00069-MWM Doc #: 44 Filed: 01/07/22 Page: 4 of 6 PAGEID #: 160




could have done with this gun and little more he could have done to flout the law with it. This

should not escape the Court’s consideration and it should sentence the defendant accordingly.

   b) Deter criminal conduct adequately

   As outlined in the previous section, the defendant was given a chance on his 2018 gun case

and responded by shooting at another person in July of 2019 and illegally possessing a machine

gun in February of 2020. The defendant was not carrying this weapon for a friend. He did not need

it for protection. He used a gun to try to kill someone and later made it even more dangerous by

converting it into a fully automatic weapon. He has not been deterred in his criminal conduct,

despite the opportunity. He has by large measure escalated that conduct, and the Court should

sentence him appropriately to the high end of his guideline range.

   c) Protection of the public

   The public is served through a separation from the defendant for a significant period of time.
   Case: 1:20-cr-00069-MWM Doc #: 44 Filed: 01/07/22 Page: 5 of 6 PAGEID #: 161




   As outlined in the above security footage still, the defendant chased his victim across the

parking lot of a crowded Rec Center in Cincinnati during daylight hours, firing from his handgun.

The Court can expect to see this video at the defendant’s sentencing hearing and hear additional

details about the NIBN leads matching the shell casings found at this scene to the gun the defendant

possessed in February of 2020, a few months after the above crime. As the Court will see in that

video, the assailant has long dreadlocks, just like the defendant, and otherwise matches his

description. Because of the defendant’s violent behavior, the public will undoubtedly be served by

his incarceration to the high end of his guideline range.

V. Conclusion

       Though this is the defendant’s first federal conviction, it is not his first time possessing

guns illegally. He has shown himself to be a dangerous user of firearms and a danger to his

community. The defendant has shown this Court already, too, what use he makes of opportunities
   Case: 1:20-cr-00069-MWM Doc #: 44 Filed: 01/07/22 Page: 6 of 6 PAGEID #: 162




of leniency in response to his gun crimes. He shoots people. He turns his weapon into an even

more dangerous ordnance. He is deserving of a harsh penalty for his crime and the government

asks that this Court sentence him accordingly.



                                                   Respectfully submitted,

                                                   KENNETH L. PARKER
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                                                   s/John Zachary Kessler
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Government’s Sentencing Memorandum was
filed with the Court’s CM/ECF System this day, January 7, 2022, which provides electronic notice
to all parties.

                                                   s/John Zachary Kessler
                                                   JOHN ZACHARY KESSLER (0090932)
                                                   Special Assistant United States Attorney
